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May 19, 2025
Via Electronic Filing

Office of the Clerk
United States Court of Appeals for the Third Circuit
21400 U.S. Courthouse
601 Market Street
Philadelphia, PA 19106-1790

Re:       Atlas Data Privacy Corporation, et al. v. We Inform, LLC, et al.,
          Nos. 25-1555 through 25-1578; 25-1580 through 25-1593; 25-1676; and 25-1677
          (Consolidated)

Dear Sir or Madam:

This firm represents defendants-appellants RocketReach LLC, Deluxe Corp., PropertyRadar,
LLC, and DM Group, Inc. We write on behalf all defendants-appellants and plaintiffs-appellees
in the above-referenced matter to make a request concerning oral argument.

The Court’s April 9, 2025 Order permitting the interlocutory appeals sets forth an expedited
briefing schedule and states that the appeals will be submitted to a merits panel during the week
of July 7, 2025. [D.E. 9]. Because July 7, 2025 is the day after a long holiday weekend, the
parties respectfully request that oral argument not be scheduled on that date or on July 8, 2025.
We make this joint request because a number of attorneys will be travelling from out-of-town,
and or returning from vacation, and respectfully request that oral argument be scheduled on
July 9, July 10 or July 11, 2025, to the extent the Court is holding oral argument on these dates.
Of course, if the only dates available for oral argument are on July 7 or July 8, the attorneys will
make appropriate arrangements to be available on these dates.

Thank you for your consideration of this request.

Respectfully,

/s/ Angelo A. Stio III

Angelo A. Stio III




Troutman Pepper Locke LLP, a Georgia limited liability partnership
Delia C. Donahue, Partner-in-Charge, Princeton Office
